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                       EXHIBIT 121
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ProdBeg        Companies                                Date              Author              TO                                   CC                              Email_Subject / Filename / Document Description         FileExt
NSR_00199524   NPBL                                             8/26/1999 Donnelly, J. M.     Board of Directors NPBL                                              Board of Directors Consent Form
NSR_00199515   NPBL                                             9/17/1999                                                                                          Board of Directors Consent Form (executed)
                                                                                                                                                                   Fw: The Port of Virginia - New On-Dock Rail at NIT -
CSXT0024925    CSXT                                             6/20/2009 O'Malley, Michael   Armbrust, Steven                     Kendall, Quintin                CORRECTION                                              MSG

NPBL014367     Commercial First Appraisers, LLC; NPBL            7/6/2009 James, H. Glenn     Coleman, Donna                                                       Re: Port Norfolk Yard                                   eml
NPBL014366     NPBL; Virginia Port Authority                     2/2/2011 Florin, Jeffrey     Coleman, Donna                                                       VPA_Letter_of_Endorsement_2792_001.pdf                  pdf
NPBL011659     NPBL                                             9/29/2011 Stinson, David      Moss, Cannon                                                         FW: Ford                                                eml
NPBL015164     NPBL                                             9/25/2012 User, Unknown                                                                            Minutes_9-19-2011_Board.pdf                             pdf
NPBL015165     NPBL                                             9/25/2012 User, Unknown                                                                            Minutes_9-23-2011_Board.pdf                             pdf
NPBL005672     NPBL; CSXT                                        4/9/2015 Moss, Cannon        MacDonald, Tony                                                      RE: Request for Operating Window                        eml
NSR_00104455   Norfolk Southern                                11/14/1998 Martinez, R. E.     Prillaman, L. I.; Finkbiner, R. L.                                   CSX and VPA, Part II

                                                                                              NPBL Rate Structure Committee;
                                                                                              Potter, Steven; Tilley, John;
                                                                                              Weatherholtz; Wilby, Whit;
                                                                                              Walker, Dennis; Romig, William;
                                                                                              Belvin, Robert; Johnson,
                                                                                              Richard; Herskovitz, Robert;    Walker, Dennis; Sturtevant, P. Diane;
NSR_00199538   NPBL; CSXT; Norfolk Southern                     3/24/1999 Donnelly, J. M.     Lucas, Robert                   Hobbs, Tony                           Rate Structure Committee Letter

                                                                                              Romig, W. J.; Lucas, Robert;
                                                                                              Herskovitz, Robert; McClellan,
                                                                                              Michael; Baughan, Edmond;
NSR_00199532   Norfolk Southern                                 3/29/1999 Johnson, Richard    Belvin, Bob                                                          Fax: NPBL Rates
                                                                                                                                                                   Fax: Rate Structure Committee, Report to NPB Board of
NSR_00199536   Norfolk Southern                                  4/1/1999                                                                                          Directors
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                                                                                  NPBL Rate Structure Committee;
                                                                                  Potter, Steven; Tilley, John;
                                                                                  Weatherholtz; Wilby, Whit;
                                                                                  Walker, Dennis; Romig, William;
                                                                                  Belvin, Robert; Johnson,
                                                                                  Richard; Herskovitz, Robert;
NSR_00199530   NPBL; CSXT; Norfolk Southern        7/19/1999 Donnelly, Joseph     Lucas, Robert                                                            Rate Structure Committee Letter

                                                                                  NPBL Rate Structure Committee;
                                                                                  Potter, Steven; Tilley, John;
                                                                                  Weatherholtz; Wilby, Whit;
                                                                                  Walker, Dennis; Romig, William;
                                                                                  Belvin, Robert; Johnson,
                                                                                  Richard; Herskovitz, Robert;
NSR_00199542   NPBL; CSXT; Norfolk Southern        7/19/1999 Donnelly, J. M.      Lucas, Robert                                                            Rate Structure Committee Letter
NSR_00084773   Norfolk Southern                     4/2/2008 Heller, Jeffrey      Friedmann, John                  Luebbers, Chris                         RE: NPBL Port Norfolk Yard                               MSG
NSR_00027114   Norfolk Southern                    4/17/2009 Luebbers, Chris      Eckhardt, Augie                                                          FW: NPBL                                                 MSG
NSR_00011118   Norfolk Southern                    4/24/2009 Luebbers, Chris      Cronk, Gregg                                                             RE: NPBL - Rate Committee CONFIDENTIAL                   MSG
NSR_00084753   Norfolk Southern                    5/14/2009 Heller, Jeffrey      Allison, Jake                    Luebbers, Chris                         FW: NPBL - Rate Committee CONFIDENTIAL                   MSG
                                                                                  Eckhardt, Augie ; Fabits, Larry; Dean, Paul; Simpkins, J. R.;
NSR_00001503   Norfolk Southern                    5/27/2009 Heller, Jeffrey      Luebbers, Chris                  Huffman, Bob; Booth, Cary               RE: CSX - NIT & APMT                                     MSG

NSR_00027096   Norfolk Southern                    6/19/2009 Luebbers, Chris      Heller, Jeffrey; Eckhardt, Augie                                         NPBL - CSX                                               MSG
NSR_00084730   Norfolk Southern                    6/23/2009 Luebbers, Chris      McLemore, Liesl; Hibben,                                                 NPBL Information                                         MSG
                                                                                                                      Allison, C. H. "Jake"; Clement, W. C.;
                                                                                                                      Drake, T. J.; Manion, M. D.;
               CSXT; NPBL; CSX Intermodal, Inc.;                                                                      Coleman, D. N.; Bennett, V. E.; Booth
CSXT0025030    Norfolk Southern                    7/23/2009 Ingram, Tony L.      Stinson, David                      III, J. N.; Helton, C. L.              DOC001.pdf                                             PDF
NSR_00177916   Norfolk Southern                    7/27/2009 Heller, Jeffrey      McClellan, Michael                                                         CSX and NPBL - Letter to Manion                        MSG
                                                                                  McLemore, Liesl; Cronk, Gregg;
NSR_00027070   Norfolk Southern                    7/31/2009 Luebbers, Chris      Hibben, Thomas                                                           Rate Commitee Follow Up                                  MSG
NSR_00183825   Norfolk Southern                    9/21/2009 Luebbers, Chris      Summy, Greg                                                              FW: NPBL Rate Committee                                  MSG
NSR_00035903   Norfolk Southern                    9/25/2009 Luebbers, Chris D.                                                                            NPBL Rate Committee Meeting 9-24-09.doc                  DOC

NSR_00030864   Norfolk Southern                    9/26/2009 Evans, Steve         Heller, Jeffrey                     Martinez, Rob; McClellan, Michael    RE: PMT                                                  MSG
                                                                                                                                                           FW: NPBL proposed sale to Virginia Port Authority; NSR
NSR_00183720   Norfolk Southern                    12/1/2009 Paschall, James      Summy, Greg                                                              Operating Agreement Indemnity Language                   MSG

NSR_00027017   Norfolk Southern                     1/7/2010 Luebbers, Chris      Eckhardt, Augie ; Heller, Jeffrey                                        Re: NPBL                                                 MSG
NSR_00000781   Norfolk Southern                    4/14/2010                                                                                               NPBL September 2010 Board Materials.pdf                  pdf
NSR_00062929   Norfolk Southern                     7/7/2010 Luebbers, Chris      Heller, Jeffrey                                                          Fw: CSX forecast model                                   MSG
NSR_00026968   Norfolk Southern                    7/21/2010 Luebbers, Chris      Heller, Jeffrey                                                          Re: They hate Palin here....................             MSG
NSR_00073997   Norfolk Southern                     8/5/2010 Summy, Greg          Wheeler, Mike                       Allison, Jake; Drake, Tim            FW: CSX NIT Operation Proposal                           MSG
                                                                                  Conway, Troy; Cronk, Gregg;
NSR_00062857   Norfolk Southern                    8/30/2010 Luebbers, Chris      Woods, Mark                                                              RE: CSX NIT Operation Proposal                           MSG
                                                                                  Conway, Troy; Cronk, Gregg;
NSR_00062844   Norfolk Southern                     9/3/2010 Luebbers, Chris      Woods, Mark                                                              RE: CSX NIT Operation Proposal                           MSG
NSR_00105816   Norfolk Southern                     1/1/2011                                                                                               NPBL - Potential Questions
NSR_00073008   Norfolk Southern                     2/1/2011 Summy, Greg          Drake, Tim                          O'Neil, Tammy                        RE: Port Norfolk Property offer                          MSG
NSR_00000872   Norfolk Southern                    2/17/2011 Luebbers, Chris D.                                                                            Stinson 021711 clean plus cary.docx                      DOCX

NSR_00072644   Norfolk Southern                    9/14/2011 Wolfe, Joe III       Summy, Greg; Wheeler, Mike          Drake, Tim; Allison, Jake            RE: Called Meeting                                       MSG
                                                                                  Elkins, Ed; Heller, Jeffrey;
NSR_00026701   Norfolk Southern                    11/7/2011 Luebbers, Chris      Eckhardt, Augie                                                          RE: NPBL                                                 MSG
                                                                                  Elkins, Ed; Eckhardt, Augie ;                                            FW: Statement of Governor McDonnell on Port PPTA
NSR_00081982   Norfolk Southern                     4/2/2013 Heller, Jeffrey      Luebbers, Chris                                                          Decision and Restructuring                               MSG
NSR_00000865   Norfolk Southern                    3/19/2015 Martinez, Rob                                                                                 Charleston ICTF update March 2015 cgb.docx               DOCX
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                                                                                                                          Elkins, Ed; Shaw, Alan; Booth, Cary;
                                                                                                                          Osborne, David; Luebbers, Chris;
NSR_00001419   Norfolk Southern                   3/30/2015 Heller, Jeffrey           Woods, Mark                         Yates, Jeff; Shaw, Alan                Re: CSX- NIT                                              MSG
NSR_00001406   Norfolk Southern                   3/31/2015 Booth, Cary               Luebbers, Chris                                                            CSX Train to NIT                                          MSG
NSR_00047281   Norfolk Southern                   3/31/2015 Evans, Terry              Heller, Jeffrey                                                            Re: CSX Traffic to NIT via NPBL                           MSG
NSR_00000870   Norfolk Southern; VIT; NPBL        3/31/2015 Booth, Cary               Tibbets, Shawn; Moss, Cannon                                               NIT one time access clean.docx                            DOCX
NSR_00001412   Norfolk Southern; VIT; NPBL        3/31/2015 Booth, Cary               Tibbets, Shawn; Moss, Cannon                                               NIT one time access clean.docx                            DOCX
NSR_00000868   Norfolk Southern                   3/31/2015 Elkins, Ed                                                                                           NIT one time access.docx                                  DOCX
NSR_00001409   Norfolk Southern                   3/31/2015 Elkins, Ed                                                                                           NIT one time access clean.docx                            DOCX
NSR_00001414   Norfolk Southern                   3/31/2015 Elkins, Ed                                                                                           NIT one time access.docx                                  DOCX
NSR_00001417   Norfolk Southern                   3/31/2015 Elkins, Ed                                                                                           NIT one time access.docx                                  DOCX

NSR_00001451   Norfolk Southern                    4/1/2015 Luebbers, Chris           Parker, Alonzo; Fabits, Larry       Elkins, Ed; Booth, Cary; Woods, Mark RE: NIT Cars                                                MSG
                                                                                                                          Woods, Mark; Elkins, Ed; Booth,
NSR_00001402   Norfolk Southern                    4/2/2015 Bush, Jeremy              Luebbers, Chris                     Cary; Yates, Jeff                    Re: NPBL Recap                                              MSG
NSR_00001401   Norfolk Southern; VIT               4/3/2015 Tibbetts, Shawn           Booth, Cary; Elkins, Ed.            Hill, Travis; Capozzi, Tom           [EXTERNAL] CSX                                              MSG
                                                                                      Booth, Cary; Heller, Jeffrey;
NSR_00001447   Norfolk Southern                   4/14/2015 Woods, Mark               Shaw, Alan                          Osborne, David                         RE: NIT Summary Today                                     MSG
NSR_00001391   Norfolk Southern                   4/17/2015 Heller, Jeffrey           Booth, Cary                                                                FW: NPBL request for a window to run to NIT               MSG

                                                                                      Booth, Cary; Lemarr, Adam;
NSR_00001395   Norfolk Southern                   4/17/2015 Shaw, Alan                Osborne, David; Woods, Mark                                                FW: NPBL request for a window to run to NIT               MSG
                                                                                      Heller, Jeffrey; Booth, Cary;
NSR_00001399   Norfolk Southern                   4/17/2015 Yates, Jeff               Woods, Mark                                                                FW: another NPBL request and possible call to TNE         MSG
NSR_00001390   Norfolk Southern                   4/21/2015 Yates, Jeff               Booth, Cary; Woods, Mark;        Heller, Jeffrey; Irvin Jr., Charles       voice mail from VIT                                       MSG
NSR_00004475   Norfolk Southern                   5/30/2015 Heller, Jeffrey           Luebbers, Chris                  Elkins, Ed                                NPBL Trackage Rights                                      MSG
                                                                                      Robinson, Rob; Simonic, Patrick;
                                                                                      Kraemer, John; McGregor, Scott;
NSR_00071467   Norfolk Southern                   6/12/2015 McClellan, Michael        Schaaf, Jim                                                                RE: Personnel - Confidential                              MSG
NSR_00004472   Norfolk Southern                   6/25/2015 Heller, Jeffrey           Luebbers, Chris                  Elkins, Ed                                RE: NPBL Trackage Rights                                  MSG
NSR_00047112   Norfolk Southern                    7/9/2015 Luebbers, Chris           Heller, Jeffrey                  Elkins, Ed                                RE: NPBL Agreements                                       MSG
NSR_00077404   Norfolk Southern                   12/9/2015 Hurlbut, Thomas           McClellan, Michael                                                         Re: NPBL rate increase                                    MSG

                                                                                      Sensenig, Carol; Elkins, Ed;
NSR_00005173   Norfolk Southern                   3/15/2016 Sensenig, Carol           Luebbers, Chris; Joyner, Kenneth                                           Review Strategy Regarding NIT Access                      MSG
NSR_00054868   Norfolk Southern                   3/15/2016 Luebbers, Chris           Elkins, Ed                       Joyner, Kenneth                           FW: NIT Expansion - Pilot Article 3/15                    MSG
NSR_00001460   Norfolk Southern                    7/1/2016 Booth, Cary               Luebbers, Chris                  Joyner, Kenneth; Bayles, Randy            RE: NBPL and NIT Switching                                MSG
NSR_00024527   Norfolk Southern                  12/20/2016 Luebbers, Chris           Joyner, Kenneth                                                            Re: NPBL Discussion                                       MSG
NSR_00071344   Norfolk Southern                    1/1/2017 McClellan, Michael        Heller, Jeffrey                                                            FW: CSX intermodal doings                                 MSG

NSR_00076482   Norfolk Southern                   3/27/2018 Hurlbut, Thomas           Merilli, Philip                     Hall, Jerry                            RE: Rate Proposal for Long Term Intermodal service to NIT MSG

                                                                                      Friedmann, John; Heller, Jeffrey;
                                                                                      Hurlbut, Thomas; Booth, Cary;
                                                                                      Traubel, Christine; Summy,
NSR_00218072   Norfolk Southern                   3/28/2018 Hunt, Randall W.          Greg; Urban, Garrett                                                       FW: Trackage/Interchange Agreement Drafts                 MSG
NSR_00006321   Norfolk Southern                    4/3/2018 Heller, Jeffrey           Osborne, David                                                             RE: NPBL - CSX                                            MSG
                                                                                                                                                                 FW: NS/CSX Meeting Minutes 1/30/18 - Preparation for
NSR_00034020   Norfolk Southern                   4/10/2018 Corletto, Jackie Decker   McClellan, Michael                                                         meeting with Ed Harris on 2/21                            MSG
NSR_00066329   Norfolk Southern                   4/16/2018 Legge, Robert             Martinez, Rob                                                              FW: NPBL/CSX Access to NIT                                MSG

                                                                                                                          Chapman, James; Moss, Cannon;
                                                                                                                          Coleman, Donna; Hall, Jerry;
               Norfolk Southern; CSXT; NPBL;                                                                              Hurlbut, Thomas; Merilli, Philip;
NSR_00035194   Crenshaw, Ware & Martin, P.L.C.    4/17/2018 Summy, Greg               Armbrust, Steven                    Swafford, Jermaine; Glassman, Drew Armbrust letter - 041718.pdf                                  PDF

NSR_00051329   Norfolk Southern                   4/18/2018 Corletto, Jackie Decker   Hunt, Randall                                                              RE: Rate Proposal for Long Term Rail Service to NIT.pdf   MSG
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NSR_00079915   Norfolk Southern            4/18/2018 Corletto, Jackie Decker   Nelson, Amanda       RE: Rate Proposal for Long Term Rail Service to NIT.pdf   MSG
NSR_00049537   Norfolk Southern             8/1/2018 Heller, Jeffrey           Joyner, Kenneth      RE: CSX access into NIT                                   MSG
NSR_00067467   Norfolk Southern             8/1/2018 Martinez, Rob             McClellan, Michael   Re: CSX access into NIT                                   MSG
